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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )              8:12CR70
                                                      )
       vs.                                            )               ORDER
                                                      )
GUILLERMO MONARREZ,                                   )
JORGE ROLANDO FLORES,                                 )
ALBERTO RODRIGUEZ-RUIZ and                            )
MIGUEL ADRIAN DIAZ,                                   )
                                                      )
                       Defendants.                    )


       This matter is before the court on defendant Guillermo Monarrez’s, Jorge Rolando Flores’,
Alberto Rodriguez-Ruiz’s, and Miguel Adrian Diaz’s motion for an extension of time to file pretrial
motions (Filing Nos. 101, 103, 104, and 102). The motions will be granted upon condition the
defendants file the affidavit required by NECrimR 12.1(a) and paragraph 9 of the Progression Order.


       IT IS ORDERED:
       1.      Guillermo Monarrez’s, Jorge Rolando Flores’, Alberto Rodriguez-Ruiz’s, and Miguel
Adrian Diaz’s motion for an extension of time to file pretrial motions (Filing Nos. 101, 103, 104, and
102) are granted.
       2.      Guillermo Monarrez, Jorge Rolando Flores, Alberto Rodriguez-Ruiz, and Miguel Adrian
Diaz are given until on or before April 30, 2012, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendants in a speedy trial. The additional time arising as a result
of the granting of the motions, i.e., the time between April 16, 2012, and April 30, 2012, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendants' counsel require additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       2.      Each defendant shall file the affidavit required by NECrimR 12.1(a) and paragraph 9
of the Progression Order.


       DATED this 16th day of April, 2012.
                                                      BY THE COURT:
                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
